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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               EASTERN DIVISION

GUIDEONE MUTUAL INSURANCE COMPANY
and GUIDEONE AMERICA INSURANCE COMPANY                                           PLAINTIFFS

V.                                                CIVIL ACTION NO. 1:06-CV-218-SA-JAD

KENNETH ROCK and JANET ROCK                                                   DEFENDANTS


                                            ORDER

       Pursuant to an opinion issued this day, the Plaintiffs’ Motion for Summary Judgment [168]

is GRANTED as to the Defendants’ bad faith counterclaim but DENIED as to all other issues, and

the Defendants’ Motion for Summary Judgment [165] is DENIED.

       So ordered on this the 29th day of June, 2009.



                                                    /s/ Sharion Aycock
                                                    UNITED STATES DISTRICT JUDGE
